Case 9:18-cv-80176-BB Document 550-35 Entered on FLSD Docket 06/01/2020 Page 1 of 2

 

From: Craig Wright [A]

Sent: 2/15/2014 11:48:38 AM

To: ira K [clocktime2020@gmail.com]; craigswright@acm.org
Subject: RE: Dave

Hi fra,

Dave and | had completed several papers and books and had a company together.
icannoat say much right now, but yes, Dave was involved with that PDF. He had the vistornail account, | had the grnx one.

The following pages will help.
®  http://www.forensicfocus.com/c/aid=54/reviews/2013/internet-evidence-finder-ief/
e  http://www.panamacarsrental.com/images/wallet/BackupBitcoin/bitcoin-walletdat-location.php
e  htto://www.magnetforensics.com/bitcoin-forensics-a-journey-into-the-dark-web/

 

 

You willbe looking for Private keys and wallet.dat fies. Also look for *.wallet and * asc. ff the drives and phones are
encrypted, then that will make this difficult to say the least.

Any QR files and images could also help.

Talk more seon,

Dr. Craig Wright LLM GSE GSM GSC MMiT MNSA MinfoSec CISSP/ISSMP CISM CISA

CJBR.org
Tel: + 612 8003 7553 | Mobile: + 61417 683 914
htto://www.rcjbr.or

  

 

From: Ira K [mailto:clocktimez020@qmail.com]
Sent: Saturday, 15 February 2014 3:31 AM

To: craigswright@acm.orq
Subject: Dave
Hi Craig,

Iam Dave's brother, Ira.

I heard via Patrick that you and my brother worked on some tech projects together.
If what he told me is true I would be very impressed.

As the person in charge of his estate, I have most of his belongings and hard
drives, aside from the few Patrick has. The drives I have are encrypted so
am not sure yet if they can be decrypted.

Can I ask you if Dave played a part in writing the original PDF under the asian alias?

Any info you can share would be most interesting. I certainly would not disclose

it to anyone outside our circle. I have no interest in public attention from it. I just

think it would be cool to know that David played a part in creating something so incredible.

Sincerely,

DEFAUS_00112712
Case 9:18-cv-80176-BB Document 550-35 Entered on FLSD Docket 06/01/2020 Page 2 of 2

Tra

DEFAUS_00112713
